       Case:19-40901-EJC Doc#:77 Filed:11/07/19 Entered:11/07/19 15:49:23                             Page:1 of 1


        IT IS ORDERED as set forth below:




        Date: November 7, 2019



_____________________________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                                           Southern District of Georgia

  In re:                                                                        Case No.: 19−40901−EJC
  Patrick D McCarthy,                                                           Judge: Edward J. Coleman III
         Debtor.
                                                                                Chapter: 7

                                      ORDER APPOINTING REALTOR


    The Application of the Trustee for appointment of BK Global Real Estate Services and Penny Rafferty Realty as
  Realtor(s) for the Trustee having been considered and it appearing to the Court that the employment of BK Global
  Real Estate Services and Penny Rafferty Realty is necessary and beneficial to this estate,

     It further appearing that the Realtor, BK Global Real Estate Services and Penny Rafferty Realty, has no adverse
  interest to those of this estate, and that the employment is proper,

     IT IS THEREFORE ORDERED that the Trustee is authorized to employ the services of BK Global Real Estate
  Services and Penny Rafferty Realty as Realtor(s) for the Trustee subject to objection by any party in interest within
  twenty−one (21) days of the date hereof. The compensation of such Realtor(s) will be later fixed and determined by
  the Court in such manner as the Court may from time to time direct after notice to creditors.
                                                  [END OF DOCUMENT]

  B−04e [07−14]
